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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  SAVANNAH DIVISION

B.S.                                          :
                                              :
         PLAINTIFF,                           :       CIVIL ACTION FILE NO.:
                                              :
V.                                            :       4:24-CV-00251-RSB-CLR
                                              :
JAY SHREE MAA DURGA, INC.                     :
d/b/a BAYMONT BY WYNDHAM                      :
HINESVILLE                                    :
                                              :
         DEFENDANT.                           :


               JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE


         It is hereby stipulated and agreed by and between the parties and their respective counsel
that the above-captioned action shall be, and is hereby, dismissed in its entirety, without
prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party will bear its
own costs and attorneys’ fees. The dismissal shall be effective upon filing of this joint
stipulation.


         Respectfully submitted, this 19th day of March, 2025.

 /s/ Joseph J. Gleason                             /s/ Lauren A. Smith (with E.P.)
 Matthew B. Stoddard, Esq.                         Lauren A. Smith, Esq.
 Ga. Bar No. 558215                                Ga. Bar No. 641798
 Joseph J. Gleason, Esq.                           Groth, Makarenko, Kaiser & Eidex
 Ga. Bar No. 297202                                One Sugarloaf Centre
 The Stoddard Firm                                 1960 Satelitte Blvd, Ste. 2000
 1534 N Decatur Road                               Duluth, GA 30097
 P: 470-467-2200                                   lsmith@gmke.law
 F: 470-467-1300                                   Attorney for Defendant
 matt@legalhelpga.com
 joe@legalhelpga.com
 Attorneys for Plaintiff
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have served a true and correct copy of the foregoing upon all counsel

of record using the CM/ECF system, which will automatically send email notification of such

filing to the following attorney of record:


Counsel for Defendant
Lauren A. Smith
Groth, Makarenko, Kaiser & Eidex
One Sugarloaf Centre
1960 Satelitte Blvd, Ste. 2000
Duluth, GA 30097
lsmith@gmke.law


       This 19th day of March, 2025.

                                                              /s/ Joseph J. Gleason
                                                              Joseph J. Gleason




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